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                  IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,     )
                              )             Case No. CR-11-143-S-BLW
          Plaintiff,          )
                              )
     v.                       )
                              )             ORDER FOR COMPETENCY
DAVID JOSEPH VON BARGEN, )                  EVALUATION UNDER
                              )             18 U.S.C. § 4241
          Defendant.          )
______________________________)

      The Court has before it Defendant's Motion for Competency Hearing under

18 U.S.C. § 4241 (Docket No. 99). The Defendant requests the Court conduct a

competency hearing pursuant to 18 U.S.C. §§ 4241(c) and 4247(d), to determine

whether he suffers from a mental disease or defect that may render him

incompetent. Defense counsel supports the motion with an affidavit setting forth

the basis of his concerns. The government has left the motion to the Court’s

discretion.

      Based upon the representations of defense counsel, the Court finds there is

reasonable cause to believe that the Defendant may presently be suffering from a

mental disease or defect rendering him mentally incompetent to the extent that he

is unable to understand the nature and consequences of the proceedings against him


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or to assist properly in his defense. Accordingly,

         NOW THEREFORE IT IS HEREBY ORDERED, that the motion for a

competency evaluation (docket no. 99) is GRANTED. Pursuant to 18 U.S.C. §§

4241(b) and 4247(b), a psychiatric or psychological examination shall be

conducted by a licensed or certified psychiatrist or psychologist. The Defendant is

HEREBY COMMITTED to the custody of the Attorney General for placement at

a federal facility suited for this purpose. The period of such commitment shall,

pursuant to 18 U.S.C. § 4247(b), not exceed a period of thirty (30) days, unless the

director of the facility seeks an extension upon a showing of good cause.

         IT IS FURTHER ORDERED that the examining psychiatrist or

psychologist shall prepare a report that complies with 18 U.S.C. § 4247(c)(A). The

examining psychiatrist or psychologist is directed to file said psychiatric or

psychological report with the Court, with copies provided to defense counsel and

counsel for the government. The report shall be filed with the Court UNDER

SEAL.

         IT IS FURTHER ORDERED, that the present trial date of October 2,

2012, be VACATED. Trial shall be reset when the report referred to above is

filed.

         IT IS FURTHER ORDERED that the delay resulting from this request,

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including the period of evaluation, shall be excluded under the Speedy Trial Act,

pursuant to 18 U.S.C. § 3161(h)(1)(A).



                                      DATED: October 1, 2012



                                      B. LYNN WINMILL
                                      Chief Judge
                                      United States District Court




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